                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                               April 22, 2020
                                                                            David J. Bradley, Clerk

                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

        ASHLEY MONT-LOUIS,             §   CIVIL ACTION NO.
                 Plaintiff,            §   4:19-cv-3254
                                       §
                                       §
               vs.                     §   JUDGE CHARLES ESKRIDGE
                                       §
        HEALTHCARE                     §
        REVENUE RECOVERY               §
        GROUP LLC DBA ARS              §
        ACCOUNT                        §
        RESOLUTION                     §
        SERVICES,                      §
                  Defendant.           §


              SCHEDULING AND DOCKET CONTROL ORDER
The following schedule will control disposition of this case:

 1.    05/15/2020       MOTIONS TO ADD NEW PARTIES
                        The party causing the addition of a new party must
                        provide copies of this Order and all previously entered
                        Orders to the new party.
 2.    06/12/2020       MOTIONS FOR LEAVE TO AMEND PLEADINGS
                        Any party seeking leave to amend pleadings after this
                        date must show good cause.
 3a.   12/09/2020       EXPERTS (other than attorney’s fees)
                        The party with the burden of proof on an issue must
                        designate expert witnesses in writing and provide the
                        required report under Fed. R. Civ. P. 26(a)(2).




                                       1
3b.   01/08/2021   The opposing party must designate expert witnesses in
                   writing and provide the required report under Fed. R.
                   Civ. P. 26(a)(2).
4.    02/19/2021   COMPLETION OF DISCOVERY
                   Discovery requests are not timely if the deadline for
                   response under the Federal Rules of Civil Procedure
                   falls after this date. Parties may by agreement continue
                   discovery beyond the deadline.
5.    03/19/2021   DISPOSITIVE AND NONDISPOSITIVE MOTIONS
                   DEADLINE (except for motions in limine )
                   No party may file any motion after this date except for
                   good cause shown.
6.    04/30/2021   MEDIATION OR SETTLEMENT CONFERENCE
                   BEFORE THE MAGISTRATE JUDGE
                   The parties must complete mediation or other form of
                   dispute resolution.
7.    05/28/2021   DEADLINE FOR JOINT PRETRIAL ORDER AND
                   MOTIONS IN LIMINE
                   The Joint Pretrial Order must contain the pretrial
                   disclosures required by Fed. R. Civ. P. 26(a)(3).
                   Plaintiff is responsible for timely filing the complete
                   Joint Pretrial Order. Failure to file a Joint Pretrial
                   Order timely may lead to dismissal or other sanction in
                   accordance with applicable rules.
8.    07/26/2021   DOCKET CALL
                   Docket call will occur at 9:30 a.m. in Courtroom 8B,
                   United States Courthouse, 515 Rusk, Houston, Texas.
                   The Court will not consider documents filed within
                   seven days of docket call. The Court may rule on
                   pending motions at docket call and will set the case for
                   trial as close to docket call as practicable.




                                  2
 9.    Additional orders or limitations relating to disclosures, discovery,
       or pretrial motions:




 10.   Other matters:




    Any party wishing to make a discovery or scheduling motion must arrange
for a premotion conference with the Court before the submission of motion
papers. This includes any motion to compel, to quash, for protection, or
extension. Follow Section 15 of the Court’s procedures.
     The parties agree to submit attorney’s fees issues to the Court by affidavit
after resolution of liability and damages.

       Signed on April 22, 2020, at Houston, Texas.



                                       Hon. Charles Eskridge
                                       United States District Judge




                                       3
